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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

                                     CASE NO.:



ATLANTIC HOUSING PARTNERS
L.L.L.P., A FLORIDA LIMITED
LIABILITY PARTNERSHIP; CANTON
CONSTRUCTION, LLC, A FLORIDA
LIMITED LIABILITY
CORPORATION; CONCORD
MANAGEMENT, LTD., A FLORIDA
LIMITED PARTNERSHIP; THE
VENUE AT HERITAGE OAKS
PARTNERS, LTD.,

                 Plaintiffs,
v.

BREVARD COUNTY, A POLITICAL
SUBDIVISION OF THE STATE OF
FLORIDA,

                 Defendant.
                                             /

                                   COMPLAINT

        Atlantic Housing Partners L.L.L.P., a Florida Limited Liability Partnership;

Canton Construction, LLC, a Florida Limited Liability Corporation; Concord

Management, Ltd., a Florida Limited Partnership; The Venue at Heritage Oaks

Partners, Ltd., a Florida Limited Partnership (collectively, “Plaintiffs”), by and




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through their undersigned attorneys, sue Brevard County, Florida (the “County”),

and state as follows in support hereof:

                          JURISDICTION AND VENUE

      1.     Atlantic Housing Partners L.L.L.P. (“AHP”) is a Florida Limited

Liability Partnership doing business in Florida.

      2.     Canton Construction, LLC (“Canton”) is a Florida Limited Liability

Corporation doing business in Florida.

      3.     Concord Management, Ltd. (“Concord”) is a Florida Limited

Partnership doing business in Florida.

      4.     The Venue at Heritage Oaks Partners, Ltd. (“VHO”) is a Florida

Limited Partnership doing business in Florida.

      5.     Southern Affordable Service, Inc. (“SAS”) is a Florida Not For Profit

Corporation doing business in Florida.

      6.     Brevard County, Florida (the “County”) is a political subdivision of

the State of Florida, is organized under the laws of the State of Florida, and is

located in this District and Division.

      7.     This Court has jurisdiction over the subject matter of this action under

28 U.S.C. §§ 1331 and 1343.         This Court has supplemental jurisdiction over

Plaintiffs’ state law claims under 28 U.S.C. §1367 as these claims are so related to

Plaintiffs’ federal law claims that they form part of the same case or controversy.



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      8.     Venue is proper in the Middle District of Florida as all of the acts

giving rise to this action occurred therein.

                           FACTUAL BACKGROUND

      9.     VHO is the contract purchaser of certain property located within the

City of West Melbourne (Parcel ID 28-37-07-00-253) (the “Property”).

      10.    VHO and AHP intend to develop the Property as “The Venue at

Heritage Oaks” – a development comprised of One Hundred Five (105) multi-

family dwelling units (the “Development”). VHO and AHP intend to develop the

Property under the Live Local Act, as codified by Section 166.04151(7), Florida

Statutes.

      11.    Canton is to construct the Development.

      12.    SAS is the general partner of the owner of the Property.

      13.    Once completed, Concord will manage the Development.

      14.    VHO and AHP planned to fund a substantial portion of the

Development with federal tax-exempt bond and tax credit resources allocated

through the Brevard County Housing Finance Authority (“BCHFA”) and Florida

Housing Finance Corporation, the use of which places restrictions on the eligibility

requirements for the tenants in the Development.

      15.    On July 31, 2023, AHP submitted its application for tax-exempt bond

financing for the Project to the BCHFA (the “Bond Financing”).



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      16.    On October 25, 2023, the BCHFA held a public meeting for the

purpose of receiving public input on the Bond Financing application (the

“Community Meeting”).

      17.    As a condition of the Bond Financing, a Land Use Restriction

Agreement encumbering the Property would have required that a minimum of 20%

of the apartment units be set aside and available only to persons earning less than

50% of area median income with the remaining 80% available to persons earning

less than 120% of area median income, for as long as the financing is outstanding,

or for a term of 15 years, or as long as a real estate tax exemption is available to

the Project, whichever is longer.

      18.    On December 5, 2023, the Brevard County Commission held a

hearing on the Bond Financing application (the “BCC Hearing”).

      19.    The report published by County staff in connection with the BCC

Hearing made the following statements:

             (a) This issue will provide funds to finance the
      acquisition, construction, equipping and development of 105
      rental housing units which will be available to Brevard County
      families of lower and moderate income. There is no fiscal
      impact to the Board of County Commissioners or the
      Authority. The County is only authorizing the Housing
      Finance Authority to issue the bonds under the IRS
      requirements for tax exempt bonds and the County shall be
      indemnified from the issuance of bonds and the Project.

             (b)   The County’s outside bond counsel has reviewed



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      the project and provided the following statement: “The
      resolution proposed to be adopted by the BOCC satisfies the
      pertinent federal and state law requirements and provides that
      neither the County nor any of the elected officials or staff of the
      County will have any obligation or liability, financial or
      otherwise, with respect to the Project or the Bonds.”

      20.   At both the Community Meeting and the BCC Hearing, members of

the public spoke in opposition to affordable multi-family rental housing.

      21.   A representative of AHP spoke during the hearing but was limited to

three (3) minutes and not allowed to provide a response to those opposing the

Bond Financing application.

      22.   Following the public hearing, the BCC voted to deny the Bond

Financing application (the “Bond Denial”).

      23.   The BCC did not base the Bond Denial on any legitimate

nondiscriminatory reason.

      24.   The County’s arbitrary denial of the requested Bond Financing has

altogether frustrated Plaintiffs’ efforts to develop the Project as the Bond

Financing, which is necessary for the Property to be developed as a qualified

affordable housing development, will expire on December 31, 2023.

      25.   The County’s arbitrary denial of the requested Bond Financing has

served to perpetuate segregated housing patterns in and around Brevard County by

preventing the development of affordable multi-family rental housing on




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appropriately zoned property, which housing would be utilized by diverse persons

and groups of persons. As a result of VHO and AHP’s inability to develop the

Project, Canton, Concord Management, and SAS have not received the benefits of

the various agreements they entered into with respect to the proposed development.

      26.    Moreover, based on statistical housing patterns, demographic statistics

for the market area, and racial population disparities within the market area, denial

of the requested Bond Financing has a clear and negative disparate impact on racial

minorities, denying them their rights to housing.

     COUNT I: ACTION FOR VIOLATION OF THE FEDERAL FAIR
             HOUSING ACT, 42 U.S.C. §§ 3604 AND 3613

      27.    This is an action by Plaintiffs against Brevard County for violation of

the Federal Fair Housing Act, 42 U.S.C. §§ 3604 and 3613.

      28.    Plaintiffs reallege and incorporate herein by reference Paragraphs 1

through 26 above.

      29.    Brevard County violated the Federal Fair Housing Act, 42 U.S.C.

§3604(a), by denying the approval that is necessary for the housing development,

thereby making unavailable or denying dwellings to persons because of race and

by its actions, unlawfully obstructed VHO and AHP’s right and ability to develop

and market the proposed Project, a multi-family affordable housing community.




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      30.    Brevard County violated the Federal Fair Housing Act, 42 U.S.C.

§3604(a), by refusing to grant the Bond Financing application, resulting in a

disparate impact on racial minorities. Brevard County’s actions were unwarranted

and, as applied, have the discriminatory effect of having a greater adverse impact

on racial minorities than on other groups.

      31.    Brevard County’s actions have a disparate impact on racial minorities

within the market area qualified to rent affordable multi-family housing in the

Project.

      32.    As a result of the actions taken by Brevard County, Plaintiffs have

been injured.

      33.    Under 42 U.S.C. §3613, Plaintiffs have a cause of action for violation

of the Federal Fair Housing Act, for which they are entitled to actual and punitive

damages, plus reasonable attorneys’ fees and costs.

      WHEREFORE, Plaintiffs respectfully request that this Court enter a

Judgment against Brevard County for actual and punitive damages, including

reasonable attorneys’ fees and costs; and that this Court grant such other and

further relief, including equitable relief, as the Court deems just and proper.




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    COUNT II: ACTION FOR VIOLATION OF THE FLORIDA FAIR
   HOUSING ACT, FLORIDA STATUTES §§ 760.23, 760.26 AND 760.35

      34.   This is an action by Plaintiffs against Brevard County for violation of

the Florida Fair Housing Act, Florida Statutes §§ 760.23, 760.26 and 760.35.

      35.   Plaintiffs reallege and incorporate herein by reference Paragraphs 1

through 26 above.

      36.   Brevard County violated the Florida Fair Housing Act, Florida

Statutes §§ 760.23(1) and 760.26, by making unavailable or denying a dwelling to

a person because of race and by its actions, unlawfully obstructed VHO and AHP’s

right and ability to develop and market the proposed Project, a multi-family

affordable housing community.

      37.   Brevard County violated the Florida Fair Housing Act, Florida

Statutes §§ 760.23(1) and 760.26, by discriminating against racial minorities when

it issued the Bond Denial. Brevard County’s actions were unwarranted and, as

applied, have the discriminatory effect of having a greater adverse impact on racial

minorities than on other groups.

      38.   Brevard County violated the Florida Fair Housing Act, Florida

Statutes § 760.26, by discriminating against racial minorities, the result of which

was to cause VHO and AHP to lose financing from BCHFA that was to finance the

development of the Project.




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      39.    Brevard County’s actions have a disparate impact on prospective

racial minorities seeking to rent affordable multi-family housing in the area.

      40.    As a result of the actions taken by Brevard County, Plaintiffs have

been injured.

      41.    Under Florida Statutes §760.35, Plaintiffs have a cause of action for

violation of the Florida Fair Housing Act, for which they are entitled to actual and

punitive damages, plus reasonable attorneys’ fees and costs.

      WHEREFORE, Plaintiffs respectfully request that this Court enter a

Judgment against Brevard County for actual and punitive damages, including

reasonable attorneys’ fees and costs; and that this Court grant such other and

further relief, including equitable relief, as the Court deems just and proper.

      COUNT III: ACTION FOR INJUNCTIVE RELIEF UNDER THE
       FEDERAL FAIR HOUSING ACT, 42 U.S.C. §§3604 AND 3613

      42.    This is an action by Plaintiffs against Brevard County for injunctive

relief under 42 U.S.C. §§ 3604 and 3613.

      43.    Plaintiffs reallege and incorporate herein by reference Paragraphs 1

through 26 above.

      44.    Brevard County acted knowingly, intentionally, willfully, wantonly,

and with reckless disregard for Plaintiffs’ rights by issuing the Bond Denial, and by




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taking such other actions described above to delay, prevent and otherwise frustrate

the construction of the Project.

      45.    Plaintiffs are being injured by Brevard County’s discriminatory

practices and are aggrieved persons under the Federal Fair Housing Act.

      46.    Under 42 U.S.C. §3613, Plaintiffs have a cause of action for violation

of the Federal Fair Housing Act for which they are entitled to permanent injunctive

relief, plus reasonable attorneys’ fees and costs.

      WHEREFORE, Plaintiffs respectfully request this Court (1) declare that the

actions of Brevard County constitute a violation of the Federal Fair Housing Act;

(2) enter a permanent, mandatory injunction ordering Brevard County to approve

the Bond Financing; (3) award Plaintiffs their reasonable attorneys’ fees and costs;

and grant such other and further relief, including equitable relief, as the Court

deems just and proper.

COUNT IV: ACTION FOR INJUNCTIVE RELIEF UNDER THE FLORIDA
  FAIR HOUSING ACT, FLORIDA STATUTES §§ 760.23, 760.26, AND
                          760.35

      47.    This is an action by Plaintiffs against Brevard County for injunctive

relief under Florida Statutes §§ 760.23, 760.26, and 760.35.

      48.    Plaintiffs reallege and incorporate herein by reference Paragraphs 1

through 26 above.




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      49.    Brevard County acted knowingly, intentionally, willfully, wantonly,

and with reckless disregard for Plaintiffs’ rights by issuing the Bond Denial, and by

taking such other actions described above to delay, prevent and otherwise frustrate

the construction of the Project.

      50.    Plaintiffs are being injured by Brevard County’s discriminatory

practices and are aggrieved persons under the Florida Fair Housing Act.

      51.    Under Florida Statutes §760.35, Plaintiffs have a cause of action for

violation of the Florida Fair Housing Act for which they are entitled to permanent

injunctive relief plus reasonable attorneys’ fees and costs.

      WHEREFORE, Plaintiffs respectfully request this Court (1) declare that the

actions of Brevard County constitute a violation of the Florida Fair Housing Act;

(2) enter a permanent, mandatory injunction ordering Brevard County to grant the

Bond Financing; (3) award Plaintiffs their reasonable attorneys’ fees and costs; and

grant such other and further relief, including equitable relief, as the Court deems

just and proper.

                          DEMAND FOR JURY TRIAL

      Plaintiffs demand trial by jury for all issues so triable.




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     Dated this 27th day of December, 2023

                                   /s/ Rebecca E. Rhoden
                                   Rebecca E. Rhoden
                                   Florida Bar No. 0019148
                                   LOWNDES, DROSDICK, DOSTER,
                                      KANTOR & REED, P.A.
                                   215 North Eola Drive
                                   Post Office Box 2809
                                   Orlando, Florida 32802-2809
                                   rebecca.rhoden@lowndes-law.com
                                   tina.althoff@lowndes-law.com
                                   litcontrol@lowndes-law.com
                                   Telephone: (407) 843-4600
                                   Facsimile: (407) 843-4444
                                   Counsel for Plaintiffs




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